 AO 2458 (Rev. 09/ 19)
                           Case 1:19-cr-00460-KMW Document 122 Filed 02/08/22 Page 1 of 7
                          Judgment in a Criminal Case (form modified within District on Sept. 30, 2019) USDSSDNY
                                                                                                                   . -.=====================:::;,
                          Sheet I
.,

                                                UNITED STATES DISTRICT C,_.,.,...._,.,.,.
                                                                        Southern District of New York
                                                                                       )
                UNITED STATES OF AMERICA                                               )
                                        V.                                             )
                              TODD KOZEL                                               )
                                                                                       )
                                                                                               Case Number: S1 19 CR 460 (KMW)
                                                                                       )       USM Number: 86425-054
                                                                                       )
                                                                                       )         Kendall Coffey, Esq . (AUSA Louis Pellegrino)
                                                                                       )       Defendant' s Attorney
 THE DEFENDANT:
 ~ pleaded guilty to count(s)                1, 2, 3, 4 and 5
 D pleaded nolo contendere to count(s)
     which was accepted by the court.
 D was found guilty on count(s)
     after a plea of not guilty .

 The defendant is adjudicated guilty of these offenses:

 Title & Section                       Nature of Offense                                                                 Offense Ended
 26 USC 7203                            Failure to File Individual Income Tax Return                                     10/15/2016         1-5




        The defendant is sentenced as provided in pages 2 through                     _ _7_ _ of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
 Ill Count(s)     _a_
                    ll _o_,_
                         p_e_n _&__
                                  un_d_e_r_,ly'-in_,g"--
                                                       in_d_ic_t_. __   D is    Ill are dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. [f ordered to pay restitution,
 the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                                        1/26/2022
                                                                                      Date of Impos ition of Judgment




                                                                                      Signature of Judge




                                                                                                                KIMBA M. WOOD , U.S.D .J.
                                                                                      Name and Title of Judge




                                                                                      Date
                         Case 1:19-cr-00460-KMW Document 122 Filed 02/08/22 Page 2 of 7
AO 245B (Rev. 09/ 19) Judgment in Criminal Case
                      Sheet 2 - Imprisonment
                                                                                                     Judgment - Page   - -=2~ _   of   7
 DEFENDANT: TODD KOZEL
 CASE NUMBER: S1 19 CR 460 (KMW)

                                                           IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
  60 months; the Court imposes 12 months in custody on each of Counts 1 through 5, all to run consecutively, for a total of 60
  months in custody.




      0    The court makes the following recommendations to the Bureau of Prisons:
           That the defendant be incarcerated at FCI Cumberland or, alternatively, USP Lewisberg . The Court also recomends
           that the defendant be allowed to participate in RDAP.




      D The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
           D at - - - - - - - - - - D a.m.                    D p.m.       on

           D as notified by the United States Marshal.

      0    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           C!f   before l C>c>, •rv-on   2/25/2022
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                       to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                         By
                                                                                              DEPUTY UNITED ST ATES MARSHAL
                       Case 1:19-cr-00460-KMW Document 122 Filed 02/08/22 Page 3 of 7
AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                      Judgment-Page   - -=-----   of
DEFENDANT: TODD KOZEL
CASE NUMBER: S 1 19 CR 460 (KMW)
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

 The Court imposes one year of supervised release on Count 1 and one year of supervised release on Count 2, to run
 consecutively, for a total of 2 years of supervised release.




                                                      MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             D The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                substance abuse. (check if applicable)
4.   D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
         restitution . (check if applicable)
5.    D You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    D You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                        Case 1:19-cr-00460-KMW Document 122 Filed 02/08/22 Page 4 of 7
AO 245B (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 3A - Supervised Release
                                                                                               Judgment-Page - - ~ - - of ------'~--
DEFENDANT: TODD KOZEL
CASE NUMBER: S1 19 CR 460 (KMW)

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

l.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
     release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
     frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
     when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
4.   You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
     the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
     hours of becoming aware of a change or expected change.
6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view .
7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
     doing so. lfyou do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
     you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least l O
     days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
     aware of a change or expected change.
8.   You must not communicate or interact with someone you know is engaged in criminal activity . If you know someone has been
     convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
     probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm , ammunition , destructive device, or dangerous weapon (i .e., anything that was
     designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11 . You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
     first getting the permission of the court.
12. You must follow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www .uscourts.gov.


Defendant's Signature                                                                                    Date _ _ _ _ _ _ _ _ _ _ __
                        Case 1:19-cr-00460-KMW Document 122 Filed 02/08/22 Page 5 of 7
AO 2458 (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 3D - Supervised Release

' DEFENDANT:                                                                                                  5_
                                                                                              Judgment-Page _ _    of      7
           TODD KOZEL
CASE NUMBER: S119 CR 460 (KMW)

                                          SPECIAL CONDITIONS OF SUPERVISION
 The standard and mandatory conditions of supervision apply, along with the following special conditions:

 You will participate in an outpatient treatment program approved by the United States Probation Office, which program
 may include testing to determine whether you have reverted to using drugs or alcohol. You must contribute to the cost of
 services rendered based on your ability to pay and the availability of third-party payments. The Court authorizes the
 release of available drug treatment evaluations and reports , including the presentence investigation report, to the
 substance use disorder treatment provider.

 You must provide the probation officer with access to any requested financial information.

 You must not incur new credit charges or open additional lines of credit without the approval of the probation officer unless
 you are in compliance with the installment payment schedule .

 You shall be supervised by the district of residence .

 The Court restores the special condition of ankle monitoring until the defendant's February 25 , 2022 surrender. The
 defendant shall follow the directions of his Pretrial Officer.
                        Case 1:19-cr-00460-KMW Document 122 Filed 02/08/22 Page 6 of 7
AO 2458 (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 5 - Criminal Monetary Penalties
                                                                                                           Judgment - Page       6    of        7
 DEFENDANT: TODD KOZEL
 CASE NUMBER: S1 19 CR 460 (KMW)
                                                  CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment               Restitution              Fine                  AVAA Assessment*                 NTA Assessment**
 TOTALS            $ 125.00                  $   29462965.23         $ 0.00                 $                                $



 D The determination ofrestitution is deferred until             -----
                                                                            . An Amended Judgm ent in a Criminal Case (AO 245C) will be
      entered after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the prioricy or¢er or perc~ntage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the Umted States 1s paid.

 Name of Payee                                                   Total Loss***              Restitution Ordered              Priority or Percentage
  IRS-RAGS                                                             $29,462,965 .23             $29,462,965.23
  Attn : Mail Stop 6261, Restitution
  333 W. Pershing Ave

  Kansas City, MO 64108




TOTALS                                $              29,462,965.23               $          29,462,965.23
                                                                                     ----------

D      Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 l2(g).

D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the              D fine    D restitution.
       D the interest requirement for the            D    fine    D restitution is modified as follow s:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of2018, Pub. L. No . 115-299.
** Justice for Victims of Trafficking A.ct of 2015, Pub. L. No. 114-22 .
*** Findings for the total amount oflosses are required under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses committed on
or after September 13 , 1994, but before April 23, 1996.
                         Case 1:19-cr-00460-KMW Document 122 Filed 02/08/22 Page 7 of 7
AO 2458 (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 6 - Schedule of Payments

                                                                                                          Judgment -   Page   7    of
 DEFENDANT: TODD KOZEL
 CASE NUMBER: S1 19 CR 460 (KMW)

                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ~      Lump sum payment of$          125.00             due immediately, balance due


              •    not later than                                  , or
              •    in accordance with
                                          •    C,
                                                     •    D,   •    E, or     D F below; or

 B     •      Payment to begin immediately (may be combined with            • c,     DD, or      D F below); or

 C     D      Payment in equal       _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                            (e.g. , months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

 D     D      Payment in equal      _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                            (e.g., months or years), to commence _ _ _ _ _ (e.g. , 30 or 60 days) after release from imprisonment to a
              term of supervision; or

 E     D      Payment during the term of supervised release will commence within _ _ _ _ _ (e.g. , 30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time ; or

 F     liZl   Special instructions regarding the payment of criminal monetary penalties:
               The defendant shall make payments to the Clerk of the Court, for disbursement to the victim. The defendant shall
               follow the Schedule of Payments set forth on page 2 of the Order of Restitution.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penarties, except those payments made through the Federal Bureau of Prisons ' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D     Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                               Joint and Several                 Corresponding Payee,
       (including defendant number)                        Total Amount                    Amount                           if appropriate




 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:



 Payments shall be applied in the following order: (1) assessment, (2) restitution princtpal, (3) restitution interest, (4) AV AA assessment,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, mcluding cost of
 prosecution and court costs.
